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                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION

                                                   '
UNITED STATES OF AMERICA,                          '
               Plaintiff,                          '
                                                   '
                                                        CRIMINAL NO. 1:23-CR-135-RP
                                                   '
v.
                                                   '
                                                   '
SAINT JOVITE YOUNGBLOOD                            '
     a.k.a. Kota Youngblood,                       '
                   Defendant.                      '

                  GOVERNMENT’S REQUESTED VOIR DIRE QUESTIONS

TO THE HONORABLE JUDGE OF SAID COURT:

         The Government respectfully requests that the Court ask the following questions during

jury selection.

     1. Has anybody ever been personally affected by fraud, or had a close friend or family
        member who has?

         If so:

              a. Please briefly describe your experience or the experience of your friend or family
                 member. You may approach the bench if you would like to discuss it privately.

              b. Did that experience affect you so strongly that if would be difficult or impossible
                 for you to put it aside and base your verdict in this case solely on the evidence
                 presented at trial and the law as I give it to you?

     2. Does anyone have strong feelings, positive or negative, regarding law enforcement?

     If so:
              a. What are your feelings regarding law enforcement?

              b. Are your feelings so strong that it would be difficult or impossible for you to put
                 them aside and base your verdict solely on the evidence you hear in the courtroom

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            and the law as I give it to you?

3. Has anybody here, or a close friend or family member, ever been arrested for, or accused
   of, a crime other than a minor traffic offense (but including DWIs)? You may approach the
   bench if you would like to discuss it privately.

   If so:

       a. Was it you or a friend/family member?

       b. What crime?

       c. When?

       d. What was the result of the case?

       e. Do you feel you were treated fairly by police and/or the court?

       f. Is there anything about this experience that would make it difficult or impossible
          for you to render a verdict based solely on the evidence you hear in the courtroom
          and the law as I give it to you?

4. It is a juror’s duty to base their verdict solely upon the evidence, without prejudice or
   sympathy. If you are chosen for this jury, that is the promise you will make and the oath
   you will take before being accepted by the parties as jurors, and they have the right to
   expect nothing less.

   If the Government proves its case beyond a reasonable doubt, it would be your duty to
   convict Mr. Youngblood despite any dislike you may have for the Government or its
   witnesses, or any sympathy you may feel toward Mr. Youngblood. Is there anybody here
   who would be reluctant or unwilling to do so?

5. The law states that naivety, carelessness, negligence, or stupidity of a victim does not
   excuse criminal conduct by a defendant. If the Government proves its case beyond a
   reasonable doubt, it would be your duty to convict Mr. Youngblood even if you believed
   the victims acted naïvely, carelessly, negligently, or stupidly. Is there anybody here who
   would be reluctant or unwilling to do so?

6. If Mr. Youngblood is convicted of any count, it will be the Court’s job to decide what the
   punishment will be. The law does not allow jurors to consider or discuss sentencing or
   punishment when reaching a verdict.

       a. Is there anybody here who would find it difficult or impossible to reach a decision
          about Mr. Youngblood’s guilt without considering punishment?

       b. Is there anybody here who would find it difficult or impossible to find Mr.
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           Youngblood guilty, even if you were convinced of his guilt beyond a reasonable
           doubt, simply because you would not be allowed to decide his punishment?

7. Have you or any member of your immediate family ever had a legal dispute with the federal
   government? If so, please state the nature of the dispute, the resolution of the matter, and
   when and where the dispute occurred.

       a. Do you feel you were treated fairly or unfairly by the federal government
          employees?

       b. Because of those experiences, do you feel you could not be fair to or would be
          biased against those government witnesses who work in law enforcement or for the
          government?

8. A defendant has a Fifth Amendment right not to testify at trial, and the law states that a
   juror may not consider a defendant’s decision not to testify as any evidence of his or her
   guilt. Indeed, a defendant may choose not to testify for any number of reasons, including a
   belief that the Government has not proven its case, or a fear of appearing nervous while
   publicly speaking. Keeping in mind Mr. Youngblood’s absolute constitutional right not to
   testify, is there anybody here who would hold it against him if he chose not to testify in
   this trial or consider it evidence of his guilt?

9. As a juror, one of your jobs will be to assess the credibility of witnesses. After a witness
   testifies, you may credit all, some, or none of that witness’s testimony. However, you may
   not “prejudge” the credibility of a witness—that is, you cannot decide in advance that you
   believe or disbelieve a witness simply because of their profession, age, appearance, or any
   other factor. With that in mind, would any of you be more or less inclined to believe the
   testimony of a government agent or employee before hearing that testimony, simply
   because he or she was a government agent or employee?

10. The government has the burden of proving the defendant guilty beyond a reasonable doubt.

   A reasonable doubt is doubt based upon reason and common sense after careful and
   impartial consideration of all the evidence in the case.

   Is there anybody here who would hold the Government to a higher standard? For instance,
   is there anyone here who would only find Mr. Youngblood guilty if the government proved
   his guilt beyond all possible doubt?

11. Do you have any strongly held personal beliefs (religious, philosophical, or otherwise) that
    would prevent you from sitting in judgment of another person and voting on their guilt?




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12. Is there anybody here who knows of any reason why they might not be suitable to sit on
    this jury because of the nature of the charges against Mr. Youngblood or for any other
    reason we have not yet discussed?


                                              Respectfully submitted,
                                              JAIME ESPARZA
                                              UNITED STATES ATTORNEY

                                         By: __________/s/______ _
                                             MATT HARDING
                                             DANIEL D. GUESS
                                             Assistant United States Attorneys




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                               CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing has been delivered via electronic delivery on

the CM/ECF system on April 3, 2024, to:

Charly Herring
Jose Gonzalez-Falla
Attorneys for Defendant Saint Jovite Youngblood

                                                            ________/s/_________
                                                            Matt Harding
                                                            Assistant United States Attorney




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